       Case 2:24-cv-01501-JCM-BNW            Document 29       Filed 04/24/25     Page 1 of 1




 1                            UNITED STATES DISTRICT COURT
 2                                   DISTRICT OF NEVADA
 3
     KEVIN RAIFORD,
 4                                                       Case No. 2:24-cv-01501-JCM-BNW
            Plaintiff,
 5                                                                      Order
     v.
 6   STATE OF NEVADA, EX.REL. BOARD                                [Docket No. 28]
 7   OF REGENTS FOR THE NEVADA
     SYSTEM OF HIGHER EDUCATION,
 8
            Defendant.
 9
10        Pending before the Court is the parties’ stipulation to continue the settlement conference
11 set for June 4, 2025, Docket No. 28, which is GRANTED. The settlement conference is hereby
12 CONTINUED to 10:00 a.m. on May 23, 2025. Settlement statements must be submitted by 3:00
13 p.m. on May 16, 2025. All other requirements set forth in the Court’s order at Docket No. 27
14 continue to apply.
15        IT IS SO ORDERED.
16        Dated: April 24, 2025
17                                                            ______________________________
                                                              Nancy J. Koppe
18                                                            United States Magistrate Judge
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